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kw g SHERIFF'S OFFICE OF COOK COUNTY *02838410*
|‘¢`_AF l AFFIDAVIT OF SERVICE
CASE NUMBER: 18CV532 MULT. SER.: 1 DOC. TYPE: SUMMONS

DIE DATE: 8/3/2018 RECEIVED DATE: 7/20/2018 FILED DATE: 7/12/2018 DIST: 604 DC

 

DEFENDANT: BRUNSWICK CORPORATION PLAINTIFF: ACE AMERICAN INSURANCE COMPANY
208 S LASALLE ST A'l'l'ORNEY: LEAHY EISENBERG & FRAENKEL
33 W MONROE STREET STE
CHICAGO, IL 60604 1100 STREET
STE 814 CHICAGO, IL 60603
A`|'l'ACHED FEE AMT: 312-368-4554
SERVICE INFORMATION: C/O RA C T CORPORATION SYSTEM

 

I CERTIFY THAT I SERVED THE DEFENDANT/RESPONDENT AS FOLLOWS:

111 PERSONAL SERVICE: BY LEAVING A COPY OF THE WRIT/ORDER WITH THE DEFENDANT/RESPONDENT
PERSONALLY, AND INFORMING DEFENDANT/RESPONDENT OF CONTENTS.

121 SUBSTITUTE SERVICE: BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT AT THE
DEFE_NDANT'S USUAL PLACE OF ABODE WITH A FAMILY MEMBER OR PERSON RESIDING THERE, 13 YEARS
OR OLDER, AND INFORMING THAT PERSON OF THE CONTENTS OF THE SUMMONS. ALSO, A COPY OF THE
SUMMONS WAS MAILED TO THE DEFENDANT AT HIS OR HER USUAL PLACE OF ABODE ON

(3) UNKNOWN OCCUPANTS: BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT NAMING
“UNKNOWN OCCUPANTS” WITH A PERSON OF THE AGE OF 13 OR UPWARDS OCCUPYING SAID PREMISE.

X (4) CORP/CO/BUS/PART: BY LEAVING THE APPROPRIATE NUMBER OF COPIES OF THE SUMMONS,
COMPLAINTS, INTERROGATORIES, JUDGMENTS, CERTIFICATIONS AND NOTICES WITH THE REGISTERED

 

AGENT, AUTHORIZED PERSON OR PARTNER OF THE DEFENDANT CORPORATION COMPANY
BUSINESS PARTNERSHIP

_ (51 PROPERTY RECOVERED: NO ONE PRESENT TO RECEIVE ORDER OF COURT. ORDER POSTED IN PLAIN
VIEW.

161 S.O.S.[D.O.I.: BY LEAVING THE SUMMONS AND COMPLAINT WITH THE SECRETARY OF THE
STATE/DIRECTOR OF INSURANCE OF THE STATE OF ILLINOIS, AN AGENT OF SAID DEFENDANT LISTED
ABOVE. ANY AGENT OF SAID CORPORATION NOT FOUND IN THE COUNTY OF COOK.

171 CERTIFIED MAIL
**** COMPLETE THIS SECTION IF WRIT IS A THIRD PARTY CITATION/GARNISHMENT ****

(8) AND BY MAILING ON THE DAY OF 20 A COPY OF THE THIRD PARTY
GARNISHMENT/CITATION SUMMONS AND NOTICE TO THE JUDGMENT DEBTOR'S LAST KNOWN ADDRESS
AS INDICATED IN THE NOTICE WITHIN (2) BUSINESS DAYS OF SERVICE UPON GARNISHEE/THIRD PARTY
DEFENDANT.

 

THE NAMED DEFENDANT WAS NOT SERVED FOR THE GIVEN REASON BELOW:

 

_ (Ol) NO CONTACT _ (05) WRONG ADDRESS _ (09) DECEASED

_ (02) MOVED _ (06) NO SUCH ADDRESS _ (10) NO REGISTERED AGENT
_ (03) EMPTY LOT _ (07) EMPLOYER REFUSAL _ (11) OUT OF COOK COUNTY
_ (04) NOT LISTED _ (08) CANCELLED BY PLAINTIFF ATI'Y _ (12) OTHER REASON (EXPLAIN)
EXPLANATION:

.WRIT SERVED ON: D HACKE`|_|' AT|'EMPTED SERVICES
SEX: Ma|e RACE: B|ack AGE: 30 DATE TIME STAR#

THIS 25 DAY OF Ju|y 2018

PM
TIME: 10:45:00 AM '

    

THOMAS J. DART,
SHERIFF, BY: /S/ THOMAS, JOSHUA D/S , Star # 11069 , DEPUTY

DFE899R

https ://istar.le.ccsheriff. org/affidavitofservice.asp?sheriff=0283 8410 8/13/2018

